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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

                                          X
JUSTIN GOLDMAN,                           :
                                          :
                      Plaintiff,          :
                                          :
             v.                           :
                                          :
BREITBART NEWS NETWORK, LLC; HEAVY, :         17 Civ. 3144 (KBF)
INC.; TIME, INC.; YAHOO, INC.; VOX MEDIA, :
INC.; GANNETT COMPANY, INC.; HERALD       :
MEDIA, INC.; BOSTON GLOBE MEDIA           :
PARTNERS, LLC; NEW ENGLAND SPORTS         :
NETWORK, INC.,                            :
                                          :
                      Defendants.         :
                                          X




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION FOR
               PARTIAL SUMMARY JUDGMENT
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        Defendants Heavy, Inc. (“Heavy”), Time Inc. (“Time”), Yahoo Holdings, Inc. (“Yahoo”),

Gannet Company, Inc. (“Gannett”), Herald Media, Inc. (“Herald”), Boston Globe Media

Partners, LLC (“Globe”), and New England Sports Network, Inc. (“NESN”) (collectively, the

“Defendants”) respectfully submit this memorandum of law in support of their motion for partial

summary judgment that the in-line linking of Plaintiff’s alleged work from servers owned and

controlled by third parties does not constitute direct copyright infringement. 1

                                  PRELIMINARY STATEMENT

        The question on this motion is a narrow one: Is the process by which a Twitter post

incorporating a photograph allegedly owned by Plaintiff (“the Photo”) appeared in articles

published by Defendants materially different, for the purposes of copyright law, from the “in-line

linking” held to be non-infringing in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1156

(9th Cir. 2007) (“Perfect 10”)? The answer is no. The undisputed evidence in the record shows

the Photo was hosted on and transmitted from servers owned and controlled not by Defendants,

but by third parties. Under Perfect 10, and every case to confront the issue since then (including

cases applying Perfect 10 in this District), these facts compel a conclusion that Defendants did

not infringe any distribution or display rights in the Photo.


1
  Defendants Heavy, Gannett, Herald and NESN are moving for full summary judgment dismissing all
claims against them. Certain of the Defendants, namely Globe, Time, and Yahoo, are moving for
summary judgment with respect to only a subset of alleged uses, since not all of these Defendants’
alleged uses involved embedded tweets. In particular, Globe is moving for summary judgment as to the
article published by Boston.com (see Second Amended Complaint, ECF No. 38 (“SAC”) SAC Ex. I at 3),
but not the article published by BostonGlobe.com (see id. at 2). Time is moving for summary judgment
as to the article published by FanSided (see SAC Ex. D at 3), but not the article published by SI.com (see
id. at 2). Yahoo is moving for summary judgment as to the article published by Yahoo Sports (see SAC
Ex. E at 3), and not for the article published by Yahoo News (see id. at 2). For the sake of simplicity,
throughout this brief, when discussing actions that the Defendants did or did not take, Defendants are
referring only to the uses of the photo at issue through the embedding of tweets from Twitter and not any
other uses. For example, when Defendants state that the photo at issue was not hosted on or served from
their own servers, they refer only to the appearance of the photo as part of embedded tweets, as set forth
above, and not the appearance of the photo in connection with publications not part of this motion.




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        When Plaintiff’s Photo appeared on the Defendants’ websites in the form of embedded

tweets, the Photo was hosted on servers owned by Twitter, not Defendants, and uploaded to the

Twitter servers by a third party whom, for unknown reasons, Plaintiff has chosen not to sue.

Defendants’ sites acted as, essentially, a “window” between the users and Twitter, just as Google

acted as a “window” to underlying content in Perfect 10. The users’ computers communicated

directly with Twitter, whose servers communicated the Photo directly to the users, which caused

the Photo to appear on the users’ screens. On these undisputed facts, 2 there is no direct

infringement of Plaintiff’s exclusive rights to distribute or display the Photo by the Defendants.

Accordingly, Plaintiff’s claims for direct infringement based on the embedding of these tweets

should be dismissed.

I.      FACTUAL BACKGROUND

        A.      Defendants’ Websites

        Each of the defendants publishes one or more news, sports-oriented or general interest

websites. Heavy publishes Heavy. See Defendants’ Statement of Undisputed Facts Pursuant to

Local Rule 56.1 (“56.1 Stmt.”) ¶ 2. Time publishes FanSided. Id. ¶ 3. Gannett publishes The

Big Lead. Id. ¶ 5. Herald publishes the Boston Herald and its website bostonherald.com. Id. ¶

6. Globe publishes Boston.com. Id. ¶ 7. NESN publishes NESN.com. Id. ¶ 8. And Yahoo

publishes Yahoo Sports. Id. ¶ 4. (These websites are collectively referred to herein as the

“Websites.”).



2
  Plaintiff maintains that there are facts in dispute here, but as Defendants demonstrate, there are no
relevant disputed facts on this motion. For instance, Plaintiff has argued at various points that
Defendants’ general practices regarding the licensing of photography for their articles are relevant to this
motion. But Defendants do not dispute that here they did not license Plaintiff’s Photo – Defendants
contend that their embedding of the Photo was not a public display under the Copyright Act and relevant
case law (and in any event, a claim for infringement of the display right does not turn on questions
relating to corporate or industry practices, or a defendant’s state of mind). See infra Section II.A.




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       Although, from a user’s perspective, visiting a site on the Internet seems to load a single

webpage onto a computer screen, the reality is more complicated. For all material purposes for

this case, each of the Websites functions in substantially the same manner, which, as discussed

below, is consistent with how courts have found websites function generally:

       Each Website comprises numerous individual webpages, each with its own unique web

address (referred to as a Uniform Resource Locator or “URL”). Id. ¶ 9. Each webpage contains

articles or other content. When a user visits a webpage within one of the Websites—either by

entering the URL in her browser program or by clicking on a hyperlink located on another site—

the user’s browser software, stored on her own computer, transmits a request to a computer

controlled by the owner of the Website, called a “server.” Id. ¶ 10. The server responds to the

request by transmitting a file to the user’s browser. Id. ¶ 11.

       The file that the Defendant’s server transmits is a text document that contains the text that

appears on the webpage on the user’s screen, as well as instructions written in various computer

programming languages, including HyperText Markup Language (“HTML”). See id.; see also

British Telecomms. PLC v. Prodigy Commc’ns Corp., 217 F. Supp. 2d 399, 406-07 (S.D.N.Y.

2002) (“HTML is the language in which Web pages are formatted. This language is a kind of

publishing mother tongue that all computers may potentially understand.” (internal citation and

quotation marks omitted)).

       The document transmitted from the Defendant’s server (the “HTML Document”) does

not contain the other content that ultimately appears on a user’s screen, such as photos, videos, or

advertisements. 56.1 Stmt. ¶ 12. It contains only the text of the page and HTML instructions.

Id. ¶¶ 11-12. The HTML instructions, in turn, include URLs for other sites containing the

content that will be incorporated into the final webpage that the user will see. Id. ¶ 13. In other




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words, what Defendants’ websites transmit to users could be considered a series of hidden (from

the user) hyperlinks to other locations on the Internet where the content that ultimately appears

on the pages resides.

          Some of those URLs may point to servers controlled by Defendants; others point to

servers owned and controlled by third parties. Id. ¶ 14. The HTML code instructs the user’s

browser software to retrieve the content directly from those various servers. Id. ¶ 15. The

HTML instructions also include “tags” that specify how the content should be laid out on the

page. Id. ¶ 16. The HTML Document that is transmitted from the webpage publisher’s server

can usually be viewed by selecting special menu options in an internet browser (for example, in

the Chrome browser, by “right-clicking” on the page and selecting “View Page Source”);

otherwise, the HTML instructions (including the URLs for the content and the tags) are not

visible to the user. Id. ¶¶ 17-18.

          This process is consistent with the process employed by Google in Perfect 10, and other

sites described in countless decisions since the advent of the Internet. See, e.g., Perfect 10, 508

F.3d at 1155 (“A webpage consists of text interspersed with instructions written in Hypertext

Markup Language (‘HTML’) that is stored in a computer. No images are stored on a webpage;

rather, the HTML instructions on the webpage provide an address for where the images are

stored, whether in the webpage publisher’s computer or some other computer.”); Pearson Educ.,

Inc. v. Ishayev, 963 F. Supp. 2d 239, 250-51 (S.D.N.Y. 2013) (“A hyperlink (or HTML

instructions directing an internet user to a particular website) is the digital equivalent of giving

the recipient driving directions to another website on the Internet. A hyperlink does not itself

contain any substantive content.” (citation omitted)). 3


3
    See also Akamai Techs., Inc. v. Cable & Wireless Internet Servs., Inc., 344 F.3d 1186, 1189 (Fed. Cir.



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        B.      Twitter

        Twitter is, by its own description, “a service for friends, family, and coworkers to

communicate and stay connected through the exchange of quick, frequent messages,” which are

known as “Tweets” and “may contain photos, videos, links and up to 140 characters of text.”

56.1 Stmt. ¶ 19. 4 Each Tweet has its own unique URL. Id. ¶ 20. 5

        One of the ways that content posted to Twitter can be seen more broadly is when it is

“embedded” on another website. As Twitter explains on its site:

2003) (“A typical web page has a Hypertext Markup Language (‘HTML’) base document, or ‘container’
document, with ‘embedded objects,’ such as graphics files, sound files, and text files. Embedded objects
are separate digital computer files stored on servers that appear as part of the web page. These embedded
objects must be requested from the origin server individually. Thus, each embedded object often has its
own URL. To receive the entire web page, including the container document and the embedded objects,
the user’s web browser must request the web page and each embedded object. Thus, for example, if a
particular web page has nine embedded objects, a web browser must make ten requests to receive the
entire web page: one for the container document and nine for the embedded objects.”); Wells Fargo &
Co. v. WhenU.com, Inc., 293 F. Supp. 2d 734, 747 (E.D. Mich. 2003) (“When a user accesses a website,
the website is not transferred to the user’s desktop. All that exists on the computer screen is an image
generated by the user’s web browser based on instructions received from the text-based HTML code of
the webpage.”).
4
  The general background information about Twitter set forth herein is not in dispute and is drawn in part
from publicly available online material. Courts in this Circuit have repeatedly held that they “generally
ha[ve] the discretion to take judicial notice of internet material.” Boarding Sch. Review, LLC v. Delta
Career Educ. Corp., No. 11 Civ. 8921(DAB), 2013 WL 6670584, at *1 n.1 (S.D.N.Y. Mar. 29, 2013); see
Sekisui Am. Corp. v. Hart, 15 F. Supp. 3d 359, 365 n.59 (S.D.N.Y. 2014) (“tak[ing] judicial notice of the
public information on [a third party’s] website …”); Patsy’s Italian Rest., Inc. v. Banas, 575 F. Supp. 2d
427, 443 n.18 (E.D.N.Y. 2008) (“It is generally proper to take judicial notice of articles and Web sites
published on the Internet.”), aff’d, 658 F.3d 254 (2d Cir. 2011); see also O’Toole v. Northrop Grumman
Corp., 499 F.3d 1218, 1225 (10th Cir. 2007) (“It is not uncommon for courts to take judicial notice of
factual information found on the world wide web.”). Farah v. Esquire Magazine, Inc., 863 F. Supp. 2d
29, 35 (D.D.C. 2012) (taking judicial notice of “various Internet postings”), aff’d, 736 F.3d 528, 534
(D.C. Cir. 2013) (affirming that “[j]udicial notice is properly taken of publicly available [online]
historical articles”); cf. United States v. Bari, 599 F.3d 176, 179-81 (2d Cir. 2010) (holding that it was not
error for district court to “confirm … common sense supposition” with independent Internet search).
5
  The Terms of Service for Twitter in place at the time relevant to this case (July 2016) provide that
posting content to the site grants Twitter a license to “use, copy, reproduce, process, adapt, modify,
publish, transmit, display and distribute such Content in any and all media or distribution methods,”
which includes the right for Twitter to make that content “available to other companies, organizations or
individuals who partner with Twitter for the syndication, broadcast, distribution or publication of such
Content on other media and services, subject to our terms and conditions for such Content use.” See 56.1
Stmt. ¶ 27. Users are also required to represent and warrant that they have “all the rights, power and
authority” to grant that license to Twitter. Id.




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       Embedded Tweets bring your pick of content from Twitter into your website
       articles. An embedded Tweet includes photos, video and cards media created for
       display on Twitter, and can even stream live video from Periscope. All aspects of
       Twitter’s display requirements are handled for you by using our tools; author
       attribution, Tweet actions, hashtags, mentions, and other key components of the
       Twitter experience.

56.1 Stmt. ¶ 22.

       Embedded tweets contain certain consistent formatting elements dictated by the Twitter

embed code, including a light gray box (with slightly rounded corners) that frames the tweet and

any accompanying media content. Id. ¶ 25. In addition, the embedded tweet itself functions as a

hyperlink, such that clicking almost anywhere on the tweet will bring the user directly to that

tweet on twitter.com. Id. ¶ 26.

       Twitter’s website instructs its users that “[e]very Tweet displayed on Twitter.com and in

TweetDeck includes an embed code to easily copy-and-paste into your webpage. Activate the

Tweet menu and select ‘Embed Tweet’ to generate markup to include on your webpage …” Id.

¶ 23. If the author of a tweet that is embedded on another site deletes that tweet, the “widgets”

used by Twitter’s embed HTML code will no longer cause the tweet to appear as a “fully-

rendered Tweet,” and will instead show only the text of the tweet itself, without any media that

had been attached to it. Id. ¶ 24.

       C.      The “Tom Brady” Photo

       Plaintiff Justin Goldman allegedly took a photograph of NFL player Tom Brady walking

in the Hamptons in New York on July 2, 2016. SAC ¶ 14. At some point thereafter, the Photo

was posted to Twitter by numerous users, including, inter alia, in tweets posted by users with the

screennames @CassidyHubbarth (the “Hubbarth Tweet”); @RealBobManning (the “Manning

Tweet”); @RCH1I1 (the “Rob H Tweet”); and @SneakerReporter (the “Sneaker Reporter

Tweet”) (collectively, the “Embedded Tweets”). 56.1 Stmt. ¶ 28.




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       This led to widespread reporting on the Photo by the online sports media, including by

Defendants.

       D.      Defendants Embedded Tweets Containing the Photo, Without Hosting the
               Tweet and Photo On Their Servers

       Between July 2 and July 4, 2016, each of the Defendants published one or more articles

that included one of the Embedded Tweets containing the Photo. 56.1 Stmt. ¶ 29 (collectively,

the “Articles”). 6 In order to embed the Embedded Tweets in the Articles, writers for each of the

Defendants’ websites incorporated HTML embed code for the Embedded Tweets into the HTML

Document for the web page containing that article. Id. ¶ 34. The embed code for the Embedded

Tweets included HTML tags, the URL of the tweet itself, the URL of any media that was

included in the tweet, and the URLs for scripts executed by Twitter that direct a user’s browser

to format the content as an embedded tweet. Id. ¶ 36. Based on these instructions, the user’s

browser software assembled the elements to present the Embedded Tweet on the user’s screen,

within the context of the webpage. Id. And because each of the Embedded Tweets included a

copy of the Photo, the Photo appeared as part of the Embedded Tweets in each of the Articles,

and was visible to users who visited the webpages containing the Articles (as seen in the partial

screenshots attached as Exhibits C-J of the Second Amended Complaint). See id. ¶ 37; SAC

Exs. C-J.

       However, the Embedded Tweet and the accompanying Photo were not stored on, hosted

by, or transmitted from servers owned or controlled by the Defendants. 56.1 Stmt. ¶ 38. Instead,

for each of the Articles that included an Embedded Tweet, the Photo that was part of that

6
 In particular, the articles published by the Globe for boston.com, Time for FanSided, Yahoo for Yahoo
Sports, and NESN each contained an embed of the Rob H Tweet. 56.1 Stmt. ¶ 30. The article published
by Herald contained an embed of the Hubbarth Tweet. Id. ¶ 31. The article published by Gannett
contained an embed of the Manning Tweet. Id. ¶ 32. And the article published by Heavy contained an
embed of the Sneaker Reporter Tweet. Id. ¶ 33.




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Embedded Tweet was hosted on and served from a server with the domain name pic.twitter.com,

which is not owned or controlled by any of the Defendants. Id. ¶ 39. In other words, when a

tweet was embedded, the display of any included images was controlled solely through direct

interactions between the user’s computer and Twitter’s servers.

        At some point after the Articles were published, some of the tweets containing the Photo

were removed from the Internet (or the Photo was removed from the tweet). 56.1 Stmt. ¶¶ 41-

43. As a result, websites that embedded those tweets now show only the raw text of the tweet

itself, and no longer incorporate the Photo. Id. ¶ 44. In addition, after receiving notice of the

claim in this case, some Defendants removed the embed code for the tweets containing the

Photo. Id. ¶ 45. As a result, the current versions of some of the webpages containing the

Articles no longer contain any reference to the Photo or the previously embedded tweets.

However, using a commonly accepted webpage archiving site, the Internet Archive (also known

as the “Wayback Machine”), 7 it is possible to see the text and source code for the webpages

containing the Articles as they looked at—or shortly after—the pages were published. 8


7
  The Court can take judicial notice of the prior versions of the Articles as they appear on the Wayback
Machine. “[C]ourts have taken judicial notice of the contents of the web pages available through the
Wayback Machine as facts that can be accurately and readily determined from sources whose accuracy
cannot reasonably be questioned under Federal Rule of Evidence 201.” Distributorsoutlet.com, LLC v.
Glasstree, Inc., No. 11-cv-6079(PKC)(SLT), 2016 WL 3248310, at *2 (E.D.N.Y. June 10, 2016)
(collecting cases, including, inter alia, In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig.,
MDL No. 1358, 2013 WL 6869410, at *4 n.65 (S.D.N.Y. Dec. 30, 2013)); see also Wensink Farm Seeds,
Inc. v. Lafever, No. 16-CV-1282, 2017 WL 2735573, at *6 (N.D. Ohio June 23, 2017) (explaining that
“the Internet Archive, found at https://archive.org/web/, has been found to be an acceptable source for the
taking of judicial notice,” and “tak[ing] judicial notice of the Internet Archive which shows the statement
in question was published on [a particular] webpage sometime between February 2, 2016 and April 3,
2016,” (citation and brackets omitted)); Orozco v. Fresh Direct, LLC, No. 15-CV-8226 (VEC), 2016 WL
5416510, at *5 n.9 (S.D.N.Y. Sept. 27, 2016) (on motion to dismiss, reviewing website “through the Way
Back Machine archive” where plaintiffs incorporated by reference into their complaint a particular
website “as it existed prior to July 2014”), appeal dismissed, No. 16-3629 (2d Cir. Mar. 10, 2017); Pond
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2014) (“turn[ing] to the Internet Archive, found at https://archive.org/web/, for the taking of judicial
notice[,] [a]s a resource the accuracy of which cannot reasonably be questioned” where the parties “made
reference to the history of their respective presence on the internet,” but “[n]either party … submitted



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        In addition, in one instance, the underlying Embedded Tweet that appeared in one of the

Articles has not been removed from the Internet and therefore, using that publication’s “preview”

software, can be viewed in a manner similar to how it appeared in its original context as an

embedded tweet:




sufficient evidence to the Court detailing exactly what their historical internet presence consisted of”).
8
 See Declaration of Simon Assaad, Ex. B (source code for archived version of Heavy article);
Declaration of Matthew Blake, Ex. B (source code for archived version of Time article); Declaration of
Brian Wallace, Ex. 2 (source code for archived version of Yahoo article); Declaration of Mark Hiland,
Ex. A (source code for archived version of Gannett article); Declaration of Justin Emond, Ex. B (source
code for archived version of Herald article); Declaration of Anthony Bonfiglio Ex. C (source code for
archived version of Globe article); Declaration of Michael R. Hall, Ex. B (source code for archived
version of NESN article).




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Declaration of Jason Lisk, Ex. C (“preview” of original version of Gannett article) at 1-2.




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       As can be seen in the screenshot, the Embedded Tweet is framed with a box made of a

light gray line with slightly rounded corners. The Photo appears in the top portion of this frame.

Below the Photo is the tweet, which features the profile picture of the user, the user’s handle

(“Bobby Manning”), the user’s Twitter user name (@realBobManning), the text of the tweet, and

the time and date of the tweet. The tweet also contains a button labeled “Follow,” along with the

Twitter “bird” logo. The tweet also contains other information about the number of tweets that

have been posted in response (as of this screenshot, three), the number of times it has been

retweeted (nine) and the number of times someone has “liked” the tweet (17). See id.

       E.      Procedural History

       Plaintiff initiated this lawsuit on April 28, 2017, by filing a bare bones complaint that

largely purported to incorporate by reference the allegations contained in an earlier complaint he

filed in Goldman v. Advance Publications, Inc., et al., No. 16 Civ. 9031 (ALC) (S.D.N.Y.),

which remains pending before Judge Carter. Before serving the complaint, Plaintiff made

minimal amendments to the complaint. See ECF No. 5. On May 26, 2017, Plaintiff filed the

Second Amended Complaint, which provided some further detail on the nature of the claims

against each of the defendants, and included exhibits containing partial screenshots of the

Articles. ECF No. 38.

       On July 13, 2017, eight out of the nine defendants moved to dismiss the complaint on the

basis that Plaintiff failed to state a claim because embedding of the Photo from Twitter did not

directly infringe Plaintiff’s alleged copyright in the Photo. ECF No. 57. All defendants filed an

additional motion to dismiss on the grounds that the use of the Photo constituted fair use as a

matter of law. ECF No. 59.




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       On August 21, 2017, the Court denied the motions, on the grounds that “[t]he case law in

this area, and the facts necessary to resolve the motions, make the motions a poor fit for a motion

to dismiss.” ECF No. 91 at 1-2. The Court then set a schedule for discovery and briefing of the

instant motion. ECF No. 109.

II.    ARGUMENT

       A.      Standard of Review

       Under Fed. R. Civ. P. 56(a), “[t]he court shall grant summary judgment if the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” “Once a movant has demonstrated that no material facts are in

dispute, the non-movant must set forth specific facts indicating a genuine issue for trial exists in

order to avoid the granting of summary judgment.” Cifarelli v. Vill. of Babylon, 93 F.3d 47, 51

(2d Cir. 1996). “‘To defeat summary judgment, a party may not rely on mere speculation or

conjecture as to the true nature of facts to overcome a motion for summary judgment’ as ‘[m]ere

conclusory allegations or denials . . . cannot themselves create a genuine issue of material fact

where none would otherwise exist.’” Complex Sys., Inc. v. ABN Ambro Bank N.V., 979 F. Supp.

2d 456, 467 (S.D.N.Y. 2013) (quoting Hicks v. Baines, 593 F.3d 159, 166 (2d Cir. 2010)). And

“[t]he nonmoving party cannot defeat summary judgment by ‘simply show[ing] that there is

some metaphysical doubt as to the material facts.’” McClellan v. Smith, 439 F.3d 137, 144 (2d

Cir. 2006) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

(1986)). Finally, “[o]nly disputes relating to material facts—i.e., ‘facts that might affect the

outcome of the suit under the governing law’—will properly preclude the entry of summary

judgment.” In re M/V MSC FLAMINIA, 229 F. Supp. 3d 213, 219 (S.D.N.Y. 2017) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).




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        B.      Defendants’ Embedding the Photo Hosted by Twitter Does Not Constitute
                Direct Infringement Under Perfect 10 and Its Progeny

        The Second Amended Complaint alleges that each defendant violated plaintiff’s

exclusive right to publicly display the Photo by “its separate public display of it without

plaintiff’s knowledge or consent.” SAC ¶ 34. Under well settled law, when the publisher of a

website embeds a photo on its site using an in-line link to a file hosted on and transmitted from a

server controlled by a third party, the publisher has not directly infringed the owner’s public

display right in the work, even if the photo visually “appears” on the site. That is not because the

work is not being displayed at all—when a photo is transmitted to users’ computer screens, there

can be little dispute that a display is taking place. The question, however, is who is doing the

displaying? Cf. Cartoon Network, LP v. CSC Holdings, Inc., 536 F.3d 121, 126 (2d Cir. 2008)

(holding in copyright case that “the dispositive question was ‘who makes the copies?’”) (citation

omitted).

        Under Perfect 10 and its progeny, and other cases addressing the related practice of

hyperlinking, when a website provides a link to content hosted and transmitted directly from a

third party server to the user, it is that third party that is displaying and distributing the work, not

the publisher. As discussed in Section II.C below, this does not mean that a publisher could not

be held liable for contributory infringement in appropriate circumstances (not present or alleged

here), but it does mean a publisher that merely provides an in-line link to content already being

published on the Internet by a third party is not liable for direct copyright infringement.

        As the Ninth Circuit held in Perfect 10, this analysis “comports with the language of the

Copyright Act,” 508 F.3d at 1160, and, as the district court in the case had previously observed,

the approach also “reflects the reality of how content actually travels over the internet before it is

shown on users’ computers.” 416 F. Supp. 2d 828, 843 (C.D. Cal. 2006). As a result, every




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court to consider the “server test” approach since Perfect 10 has ultimately embraced the rule.

See infra Section II.B.3.

       Plaintiff has tried throughout this litigation to distinguish this case from this unbroken

line of authority (devoting the bulk of his complaint to allegations of purported differences

between what was decided in Perfect 10 and what is before this Court). But Plaintiff

fundamentally misunderstands the nature of the technology at issue in these cases, as discussed

in Sections II.B.2 below. Plaintiff also proposes a slew of hypotheticals that he says demonstrate

that the server test, if taken to its extreme, could lead to inequitable results. These hypotheticals

are for the most part based on Plaintiff’s misinterpretation of copyright law, as discussed in

Section II.C below. In any event, they are well beyond the scope of this case.

       Perhaps there are forms of “embedding” content where, as a technical matter, that content

is copied onto, and delivered by, servers owned by the publisher—or where the facts would

otherwise distinguish the case from Perfect 10. However, this is not such a case. Here, the facts

are clear that the type of embedding used by each of the moving Defendants is for all relevant

purposes indistinguishable from the in-line linking held to be non-infringing by the Ninth

Circuit.

               1.      Perfect 10 Held That In-line Linking a Full-Sized Photo Hosted on a
                       Third Party Site Was Not a “Display” by the Linking Website

       In Perfect 10, the plaintiff (a publisher of magazines featuring nude photographs) (“P10”)

claimed that the defendant, Google, infringed its exclusive right to publicly display its photos

when unauthorized copies of those photos appeared on Google’s website in the context of results

from Google’s Image Search service. That service enabled users to search the web for images

that matched particular search terms, much like Google’s regular search engine would return

websites that matched search terms. Results were delivered in the form of a grid of “thumbnail”-




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sized images. When the user clicked on a thumbnail, a full-sized version of the image would

appear on the site, along with additional information about the image. See 508 F.3d at 1155-56.

          Unknown third parties had uploaded unauthorized copies of P10’s photos to various sites

on the web. Those unauthorized copies showed up in Google Image Search results, with the

result that both thumbnail- and full-sized versions of P10’s photos appeared on Google’s site.

P10 claimed that Google infringed its display rights with both the thumbnail and full-sized

versions. The district court held—and the Ninth Circuit affirmed—that P10 had made a prima

facie case of direct infringement as to the thumbnail versions, but not the full-sized versions.

The reason for this distinction was the court’s application of what it referred to as the “server

test.”

          Under the “server test,” “a computer owner that stores an image as electronic information

and serves that electronic information directly to the user (‘i.e., physically sending ones and

zeros over the [I]nternet to the user’s browser’) is displaying the electronic information in

violation of a copyright holder’s exclusive display right,” but “the owner of a computer that does

not store and serve the electronic information to a user is not displaying that information, even if

such owner in-line links to or frames the electronic information.” 508 F.3d at 1159 (internal

citation omitted).

          To understand how the server test applied differently to the different sized versions of

P10’s photos appearing on Google’s site, it is necessary to explore what the Ninth Circuit has

referred to as “in-line linking.” That court had previously described this process as follows:

          In-line linking allows one to import a graphic from a source website and
          incorporate it in one’s own website, creating the appearance that the in-lined
          graphic is a seamless part of the second web page. The in-line link instructs the
          user’s browser to retrieve the linked-to image from the source website and display
          it on the user’s screen, but does so without leaving the linking document. Thus,
          the linking party can incorporate the linked image into its own content. As a




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       result, although the image in [the end website] came directly from the originating
       web site and was not copied onto [the end website’s] server, the user would not
       realize that the image actually resided on another web site.

Kelly v. Arriba Soft Corp., 336 F.3d 811, 816 (9th Cir. 2003) (emphasis added) (footnotes

omitted). In Perfect 10, Google used this process to present the full-sized versions of P10’s

images. The court explained:

       When a user clicks on a thumbnail image, the user’s browser program interprets
       HTML instructions on Google’s webpage. These HTML instructions direct the
       user’s browser to cause a rectangular area (a “window”) to appear on the user’s
       computer screen. The window has two separate areas of information. The
       browser fills the top section of the screen with information from the Google
       webpage, including the thumbnail image and text. The HTML instructions also
       give the user’s browser the address of the website publisher’s computer that stores
       the full-size version of the thumbnail. By following the HTML instructions to
       access the third-party webpage, the user’s browser connects to the website
       publisher’s computer, downloads the full-size image, and makes the image appear
       at the bottom of the window on the user’s screen. Google does not store the
       images that fill this lower part of the window and does not communicate the
       images to the user; Google simply provides HTML instructions directing a user’s
       browser to access a third-party website. However, the top part of the window
       (containing the information from the Google webpage) appears to frame and
       comment on the bottom part of the window. Thus, the user’s window appears to
       be filled with a single integrated presentation of the full-size image, but it is
       actually an image from a third-party website framed by information from
       Google’s website.

Perfect 10, 508 F.3d at 1155–56.

       The district court provided an exhibit to give a visual aid to what the in-line linking

process looked like to a user:




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See 416 F. Supp. 2d at 860; Decl. of Lacy H. Koonce, III (“Koonce Decl.”) Ex. 11 (full-sized

version of screenshot from published opinion).

       In arguing that the display of the full-sized versions of the images constituted

infringement by Google, P10 emphasized that a user could “see all of Perfect 10’s best images …

full size for free, without ever taking any action to leave Google’s website,” and that when

viewing the images, the user remained “on images.google.com” at all times. Koonce Decl. Ex. 9

(Declaration of Norman Zada filed in support of P10’s motion for preliminary injunction in

Perfect 10) ¶¶ 38, 40 (emphasis removed). See also Koonce Decl. Ex. 10 (additional exhibits

from P10’s filings in Perfect 10 that illustrate the appearance of Google Image Search results,

including screenshots of both the thumbnail search results and full-sized images, which appear



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on webpages with “google.com” as part of the URL in the address bar). Nevertheless, both the

district court and the Ninth Circuit held that Google was not liable for displaying the full-sized

images because they appeared on Google’s website only via in-line linking and were not actually

hosted or served by Google’s computers; under the server test, in-line linking was not a direct

infringement. As the district court had held, “the website on which content is stored and by

which it is served directly to a user, not the website that in-line links to it, is the website that

‘displays’ the content.” Perfect 10, 416 F. Supp. 2d at 843. When users would see P10’s images

on their screen while using Google Image Search, “their computers have engaged in a direct

connection with third-party websites, which are themselves responsible for transferring content.”

Id. In other words, providing the in-line link, which consisted only of HTML instructions and

not the content itself, did not constitute a “display” of the underlying content, even though the

photos plainly appeared on users’ screens. 9

        The Ninth Circuit affirmed, grounding its reasoning in “the language of the Copyright

Act” itself. 508 F.3d at 1160. The statute defines “display” of a work as “show[ing] a copy of it,

either directly or by means of a film, slide, television image, or any other device or process ….”

17 U.S.C. § 101. To display a work “publicly” is defined as:

        (1) to perform or display it at a place open to the public or at any place where a
        substantial number of persons outside of a normal circle of a family and its social
        acquaintances is gathered; or


9
  As an alternative approach, the district court also outlined an “‘incorporation’ test,” under which
“displaying” could include “the mere act of incorporating content into a webpage that is then pulled up
by the browser.” 416 F. Supp. 2d at 839. The court acknowledged that both tests could be “susceptible to
extreme or dubious results,” but concluded that the server test was the better approach, in part because,
under the incorporation test, a “website that in-line links to or frames third-party content would risk
liability for direct infringement (putting aside the availability of an affirmative defense) even if that
website discloses the identity of the actual server of the image.” Id. at 839-40. As the court concluded,
that test “fails to acknowledge the interconnected nature of the web, both in its physical and logical
connections and in its ability to aggregate and present content from multiple sources simultaneously.” Id.
at 844.




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       (2) to transmit or otherwise communicate a performance or display of the work to
       a place specified by clause (1) or to the public, by means of any device or process,
       whether the members of the public capable of receiving the performance or
       display receive it in the same place or in separate places and at the same time or at
       different times.

Id. A “copy” is a material object[] … in which a work is fixed … and from which the work can

be perceived, reproduced, or otherwise communicated, either directly or with the aid of a

machine or device.” Id.

       The court reasoned that, with a digital photograph, the “fixed” “copy” is the file stored on

a computer, hard disk or other digital storage device. Perfect 10, 508 F.3d at 1160. The owner

of the storage device “shows a copy ‘by means of a … device or process’ when the owner uses

the computer to fill the computer screen with the photographic image stored on that computer, or

by communicating the stored image electronically to another person’s computer.” Id. “In sum,”

the court held, “based on the plain language of the statute, a person displays a photographic

image by using a computer to fill a computer screen with a copy of the photographic image fixed

in the computer’s memory.” Id.

       Applying this reasoning, the court affirmed that Google was not “displaying” the full-

sized images that were being transmitted directly from the underlying third party websites to

user’s screens. “Instead of communicating a copy of the image, Google provides HTML

instructions that direct a user’s browser to a website publisher’s computer that stores the full-size

photographic image,” id. at 1161, referring to the text document that comprises the “webpage”

that Google transfers to a user’s computer when they enter the URL in their browser. See id. at

1155 (“A webpage consists of text interspersed with instructions written in [HTML] that is

stored in a computer. No images are stored on a webpage; rather, the HTML instructions on the




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webpage provide an address for where the images are stored ….”). The court concluded that

“[p]roviding these HTML instructions is not equivalent to showing a copy” for several reasons:

       First, the HTML instructions are lines of text, not a photographic image. Second,
       HTML instructions do not themselves cause infringing images to appear on the
       user’s computer screen. The HTML merely gives the address of the image to the
       user’s browser. The browser then interacts with the computer that stores the
       infringing image. It is this interaction that causes an infringing image to appear
       on the user’s computer screen. Google may facilitate the user’s access to
       infringing images. However, such assistance raises only contributory liability
       issues, and does not constitute direct infringement of the copyright owner’s
       display rights.

Id. at 1161 (internal citations omitted). Even though, as is evident from the screenshots from the

case, the presentation of the full-sized screenshots on a page on google.com “gives the

impression that Google is showing the image within a single Google webpage,” and users may

“believe they are viewing a single Google webpage,” the fact that the full-sized images were

merely in-line linked from other third party sites meant that it was those sites—and not Google—

that was displaying the images to the public. Id.

       By contrast, the thumbnail-sized images were stored on Google’s own servers, and were

communicated directly to users’ screens by Google itself. Applying the server test, the Ninth

Circuit affirmed the district court’s holding that P10 had made a prima facie case of direct

infringement as to the thumbnail images. Id. at 1160. However, the Ninth Circuit ultimately

held that the use of thumbnail images in the context of a search engine was sufficiently

transformative to be protected as a fair use. Id. at 1168.

               2.      Defendants’ Embedding of Tweets Is Not Materially Different from
                       the In-line Linking at Issue in Perfect 10

       Embedding tweets from Twitter using embed code that directs users’ browsers to retrieve

the content directly from Twitter’s servers is functionally identical to the in-line linking that the

court in Perfect 10 held did not directly infringe the public display right:




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 •   Similar to the full-sized images in Perfect 10, the Photo was not stored on any of the

     Defendants’ servers with respect to the uses at issue in this motion. 56.1 Stmt.

     ¶¶ 38-40.

 •   Defendants thus did not communicate a copy of the Photo to “fill [a user’s]

     computer screen” with the image when a user visited the Websites. Perfect 10,

     508 F.3d at 1160.

 •   Instead, as in Perfect 10, when Defendants transmitted the webpages containing the

     Articles to users, the webpage documents contained “text interspersed with

     instructions written in [HTML],” but “[n]o images.” Id. at 1155. See 56.1 Stmt.

     ¶¶ 11-12, 35.

 •   As with Google in Perfect 10, the HTML instructions underlying Defendants’

     websites told users’ browser programs to connect directly with servers controlled by

     third parties to receive the content directly from those servers. 56.1 Stmt. ¶¶ 14-15.

     But Defendants’ transmitting these “lines of text” “is not equivalent to showing a

     copy” of the Photo, which was, at all times, served directly to users from Twitter.

     508 F.3d at 1161. See 56.1 Stmt. ¶¶ 39-40.

 •   As in Perfect 10, even though the embedding of a tweet “gives the impression that

     [Defendants are] showing the image within a single … webpage” published by the

     Defendants, under the Perfect 10 approach, because it is the “interaction” between the

     users and Twitter that “causes [the Photo] to appear on the user[s’] computer

     screen[s],” this does not constitute a public display by the publishers of the Websites.

     Id.




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For these reasons, just like Google in Perfect 10, Defendants are not the parties directly liable for

any resulting public “display.”

           Plaintiff tries to distinguish Perfect 10 in a variety of ways, which the Court noted in

denying the motion to dismiss. But these purported “distinctions” are either contradicted by the

evidence in the record, or are immaterial to the Ninth Circuit’s holding. For example, Plaintiff

tries to distinguish Defendants from Google in Perfect 10 by alleging that “[i]nstead of a

thumbnail of the Photo, the defendants prominently displayed the Photo in full and in full color.”

SAC ¶ 26(a). But, of course, one of the principle issues in Perfect 10 was whether Google was

liable for the display of the full-sized, full color versions of P10’s photos that appeared on

Google’s site. 508 F.3d at 1159. Liability for the thumbnail versions was an entirely separate

issue (and one on which the court reached the opposite conclusion from the full-sized images,

since the thumbnails were hosted and served by Google).

           Plaintiff also contends that Defendants did not provide any “instructions” or an “address”

for a site where the Photo could be viewed. SAC ¶ 26(b). (In fact, Plaintiff’s briefing in his

opposition to the motion to dismiss repeatedly characterized the Defendants’ incorporation of the

Photo as “instructions-free.” See ECF No. 81 at 4, 17, 24-27.) But that is plainly false. As the

evidence shows, the HTLM Document transmitted from Defendants to users contained exactly

the same type of HTML “instructions” and URLs (i.e., “addresses”) for the tweets containing the

Photo, and the URLs for the Photo itself (which all began with the domain name

“pic.twitter.com/”), as were provided by Google. 56.1 Stmt. ¶¶ 35-36. 10

           Plaintiff has at times appeared to misread the Perfect 10 decision’s discussion of

“instructions” to be in reference to information provided to Google’s users about where the


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     See also declarations and exhibits cited supra note 8.




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images could be found on the Internet. While it’s true that Google also provided this

information, the Ninth Circuit is quite clear that “instructions” refers to “HTML instructions”

that “the user’s browser program interprets,” not textual instructions to the users themselves.

508 F.3d at 1155 (emphasis added). As the court explains, the HTML instructions “gives the

address of the image to the user’s browser”; “[t]he browser then interacts with the computer that

stores the infringing image”; and “[i]t is this interaction”—between the user’s browser program

and the computer hosting the image—“that causes an infringing image to appear on the user’s

computer screen.” Id. at 1161 (emphasis added). That process is identical to what happens when

a user’s browser software interprets the HTML embed code instructing the browser to “interact”

with Twitter to obtain the tweets and the accompanying Photo. See 56.1 Stmt. ¶ 36.

       Plaintiff also alleges that the cases are different because, unlike in Perfect 10, the Photo

was not “framed” the way the P10 photos were framed in Google Image Search (as it operated at

the time). SAC ¶ 26(h). However, although the presentation of embedded tweets is not identical

to the “framing” process used by Google at the time of Perfect 10, as is evident in the screenshot

above (see supra at 10), the embedded tweet containing the Photo, in fact, is framed (with a light

gray box). See also 56.1 Stmt. ¶ 25. The framing and overall presentation of an embedded tweet

also make it clear that the content comes from Twitter, and includes links to see the tweet in its

original context on Twitter’s website. The framing for an embedded tweet arguably makes it

even clearer that the content is being delivered from a third party (Twitter) than the in-line linked

images in Perfect 10, where the court acknowledged the presentation “gives the impression that

Google is showing the image within a single Google webpage.” 508 F.3d at 1161.

       Beyond these flatly wrong distinctions, Plaintiff has also tried to distinguish Perfect 10

by arguing that its holding is somehow limited to the specific fact pattern of a search engine that




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“indiscriminately” sweeps up images from the Internet and where a user is required to “click” on

a thumbnail in order to view the full-sized image. But the reasoning behind the Ninth Circuit’s

decision does not rely upon, or even address, these purported distinctions at all. The

straightforward application of the “server test” by the Ninth Circuit had nothing to do with

whether or not Google had individually selected which of P10’s pictures to show on its site or

whether the full-sized images appeared as a result of a user’s “click” or not. Instead, the decisive

factor was that, when Google transmitted HTML instructions—without actually communicating

or transmitting the photos themselves—it was not “displaying” anything as that term is defined

in the Copyright Act. Id. at 1161.

       Notably, the district court in Perfect 10 used an illustration of the process of in-line

linking that is much closer to the facts of this case than a search engine with the distinctions

highlighted by Plaintiff. The district court described a (hypothetical) website with the URL

“SoccerMANIA.com” consisting of a single webpage with the text “We proudly show this

photo,” with a picture of the soccer player Pelé that was in-line linked “[u]sing standard HTML”

but was hosted by a separate website, “SoccerPASSION.com.” 416 F. Supp. 2d at 839. The

question the court then answered was “whether SoccerMANIA.com, SoccerPASSION.com, or

both have ‘displayed’ the copyrighted Pelé photo.” Id. After reviewing the precedent in the

area, the court determined that the “server test” was the “appropriate” way to determine that

answer: that it was the underlying “SoccerPASSION.com” hosting website, and not the in-line

linking “SoccerMANIA.com” website, that “displayed” the photo. Id. at 843. In other words,

far from being confined to the search engine context, the district court in Perfect 10 adopted the

server test—subsequently affirmed by the Ninth Circuit—while contemplating a website that

featured a single, deliberately chosen photo. Indeed, the SoccerMANIA.com photo of Pelé




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would not even have the clear indicia that the content comes from another site that are present on

embedded tweets (or other social media posts). See 56.1 Stmt. ¶ 25.

               3.      No Case Has Rejected the Perfect 10 “Server Test” Approach for
                       Online Infringement

        Since the Ninth Circuit issued Perfect 10, numerous courts have confronted similar

questions regarding alleged direct infringement from content appearing on websites. In every

case, the courts have embraced the Perfect 10 court’s reasoning. These decisions only further

reinforce the hollowness of the distinctions Plaintiff attempts to draw between this case and

Perfect 10.

        The only other Circuit Court to directly address the server test was the Seventh Circuit,

which overturned the district court and embraced the Perfect 10 approach. See Flava Works, Inc.

v. Gunter, 689 F.3d 754 (7th Cir. 2012). Although Flava Works was principally concerned with

alleged contributory infringement, the court provided a thorough description of the concept of

“embedding” through in-line links similar to the embedding of social media content at issue in

this case:

        Patrons of myVidster find videos on the Internet, and if they want to make them
        available to other patrons of myVidster … “bookmark” (note) them on
        myVidster’s website. Upon receiving the bookmark myVidster automatically
        requests the video’s “embed code” from the server that hosts (that is, stores) the
        video. …

        The embed code contains the video’s web address plus instructions for how to
        display the video. Armed with that code, myVidster creates a web page that
        makes the video appear to be on myVidster’s site. When you visit the site, that
        video and other videos appear, each in the form of a “thumbnail,” a miniature
        picture of a video’s opening screen shot. A click on a thumbnail activates
        computer code that connects the visitor’s computer to the server; the connection
        made, the visitor is now watching the video. He’s watching it through a frame
        that myVidster has put around it, containing ads (it’s by selling ads for display on
        its website that myVidster finances its operation). He may think, therefore, that
        he’s seeing the video on myVidster’s website. But actually the video is being
        transmitted directly from the server on which the video is stored to the viewer’s




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        computer. Someone had uploaded the video to that server, and later a subscriber
        to myVidster had come across it and decided to bookmark it. This led to the
        creation of a page on myVidster’s website and by clicking on the page other
        visitors to myVidster can now view the video—but on the server that hosts the
        video, not on myVidster’s website; the bookmarked video is not posted on
        myVidster’s website.

Id. at 756.

        The court adapted the reasoning of Perfect 10 to hold that the defendant was not liable for

infringement of the public performance right under the Copyright Act (which is defined similarly

to the public display right). Flava Works, 689 F.3d at 761. The court likened the HTML

instructions transmitted to a user’s browser to a magazine “listing plays and giving the name and

address of the theaters where they are being performed.” Id. (citing, inter alia, Perfect 10, 508

F.3d at 1159-61). Because the website was not “transmitting or communicating” the videos

themselves—in fact, the defendant “doesn’t touch the data stream, which flows directly from one

computer to another, neither being owned or operated by [the defendant]”—it was not publicly

“performing” them (in the same way that Google in Perfect 10, and the Defendants here, did not

“display” the photographs at issue). Id.

        District Courts in this District have also adopted the reasoning of Perfect 10 to questions

of direct infringement in a variety of contexts. In MyPlayCity, Inc. v. Conduit Ltd., No. 10 Civ.

1615(CM), 2012 WL 1107648 (S.D.N.Y. Mar. 30, 2012), adhered to on recons., 2012 WL

2929392 (S.D.N.Y. July 18, 2012), the defendant created customized “toolbar” software that

users could install on their browser programs. The plaintiff—a video game publisher—

contracted with the defendant to create a branded toolbar that provided access to the plaintiff’s

games, but those games resided at all times on plaintiff’s own servers. Id. at *2. After the

contract was terminated, the defendant continued offering the toolbar to customers. Relying on

Perfect 10, the court held that the defendant’s distribution of the toolbars did not constitute direct




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copyright infringement of plaintiff’s video games (in that case, of the distribution right) because

the evidence showed that the plaintiff’s copyrighted games resided at all times on the plaintiff’s

own servers, and users accessed them directly from there—“[t]he Toolbars did not themselves

contain copies of [the plaintiff’s] copyrighted software.” Id. at *13.

       More recently, Judge Buchwald held that a defendant was likely not liable for direct

infringement of a plaintiff’s software program when it “embed[ed] an HTML script tag in the

HTML code of its website” to cause the defendant’s website to “display a video of a ‘walking’

and ‘talking’ personal host to welcome online visitors” to the site. Live Face on Web, LLC v.

Biblio Holdings LLC, No. 15 Civ. 4848 (NRB), 2016 WL 4766344, at *1 (S.D.N.Y. Sept. 13,

2016). The defendant’s website did not store or transmit the software program or video itself.

Instead, the embedded code linked to content located on a page from another website,

“http://tweople.com,” which stored and transmitted the file containing the software to the visitors

to defendant’s site. Id. Relying on Perfect 10, the court held that, most likely, “any infringing

distribution was done by Tweople,” because, based on a review of the HTML code for the

website, it was that “third-party server [that] stored and disseminated the infringing file directly

to Website visitors.” Id. at *4. Although the court held it would permit discovery on whether

the defendant was directly involved in the transmission of the infringing software from the

“Tweople” website, the fact that the defendant intentionally chose to embed the program on its

site had no bearing on whether the defendant could be liable for direct infringement when it

never actually stored or communicated the software. Id. at *2-3. This was so even though the

program was prominently featured on the defendant’s website without requiring any additional




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“click” from the user, and allegedly helped generate revenues and profits for the defendants, by

“enhancing the ability of the Website to promote and sell its products.” Id. 11

        Finally, in another case in this District, Judge Sullivan considered infringement claims

over a service that created a market for “used” digital copies of music. See Capitol Records,

LLC v. ReDigi Inc., 934 F. Supp. 2d 640 (S.D.N.Y. 2013). While he granted partial summary

judgment on Plaintiff’s infringement claims involving the reproduction and distribution rights in

the sound recordings, he also ruled that factual issues precluded summary judgment on whether

the defendant’s service violated the public display rights in album cover art associated with the

sound recordings. Although other factual issues precluded summary judgment on this issue, the

court suggested that Perfect 10 could be decisive of the display question, noting that “[t]he Ninth

Circuit has held that the display of a photographic image on a computer may implicate the

display right, though infringement hinges, in part, on where the image was hosted,” and citing no

other authority (let alone any contrary authority) for the issue. Id. at 652 (citing Perfect 10, 508

F.3d at 1160).

        Decisions in other districts are in accord, and further undermine Plaintiff’s attempts to

distinguish this case from Perfect 10. In Leveyfilm, Inc. v. Fox Sports Interactive Media, LLC,

No. 13 C 4664, 2014 WL 3368893 (N.D. Ill. July 8, 2014), the work at issue was a photograph

that had appeared on the cover of a DVD. The operator of a news website published an article

11
  In opposing the motion to dismiss, Plaintiff cited a different case involving the same plaintiff, Live
Face on the Web, LLC v. Smart Move Search, Inc., No. 15-4198(JHR/AMD), 2017 WL 1064664 (D.N.J.
Mar. 21, 2017), in which the court denied the defendant’s motion to dismiss the claim for direct
infringement, holding that “by alleging that Smart Move’s website causes a copy of the LFOW Software
to be distributed to the website visitor’s computer,” the plaintiff had sufficiently pled a claim. Id. at *2.
The court expressly held that “[t]he specific technological mechanism by which this is accomplished may
be explored during discovery.” Id. (citation omitted). It is unclear if the defendant’s website simply
embedded the equivalent of an in-line link to a third party site (like “Tweople,” in the Biblio case). In any
event, the court gives no indication that, if the evidence revealed that an in-line link to a third party site
were the “specific technological mechanism” at issue, that the defendant would somehow be liable for
direct infringement.




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and uploaded an unauthorized copy of the photo, which she had downloaded from the Internet.

Id. at *1. At some point thereafter, that website entered into an affiliate agreement with the

defendant, which operated a site called “Yardbarker,” under which the defendant could syndicate

the articles from the news website and distribute them via the yardbarker.com site. Thus, the

article containing the infringing photograph also appeared on yardbarker.com. However, there

was no dispute the photograph remained stored on the servers for the original website, and was

never stored on or communicated from Yardbarker’s servers. Id. at *2. Therefore, relying on

Perfect 10 and the Seventh Circuit’s decision in Flava Works, the court held the defendant could

not be liable for direct infringement. Id. *4-5. That the photo was purposely selected to appear

in an editorial context, and that Yardbarker had intentionally decided to syndicate the original

article containing the photograph, had no bearing on this result.

       In Grady v. Iacullo, No. 13-cv-00624-RM-KMT, 2016 WL 1559134 (D. Colo. Apr. 18,

2016), the plaintiff alleged that the defendant infringed his copyrights by posting thumbnails of

photos and videos owned by the plaintiff on a message board. The defendant argued that, as in

Perfect 10, he could not be liable because he never copied or stored plaintiff’s photographs or

videos—he only provided links (albeit in-line links containing thumbnails of the images). Id. at

*5. The court explained that the “key consideration” in Perfect 10 was “whether a copyrighted

image was stored on an alleged infringer’s computer.” Id. The court rejected the plaintiff’s

argument—similar to Plaintiff’s suggestion here—that, “because defendant is a living, breathing

person with free will, defendant’s decisions to share plaintiff’s photographs and videos render

that conduct more infringing than Google’s.” Id. at *7. That argument, the court explained,

“misses the point that Google’s conduct was either infringing or not based on whether Google

stored thumbnails or full-sized images on its computers.” Id. The court summarized that,




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“whether or not a person or entity must act with free will or volitionally, … at the very least, the

copyrighted work must be stored on the person or entity’s computer.” Id. (citation omitted). 12

        And finally, in Totally Her Media, LLC v. BWP Media USA, Inc., No. CV 13-8379-AB

(PLAx), 2015 WL 12659912 (C.D. Cal. Mar. 24, 2015), the Central District of California

followed Perfect 10 to hold that a fashion website where photographs were “posted” by users did

not directly infringe the plaintiff’s display rights when the images were stored on third-party

websites. Quoting Perfect 10, the court noted that “‘[i]n-line linked images that appear on a

user’s computer screen’ do not, by themselves constitute direct infringement where the website

displaying the images does ‘not store the photographic images’ on its own servers.” Id. at *11

(quoting 508 F.3d at 1160-61). At most, the website “facilitates th[e] interaction between a

third-party user and a third-party server,” but “‘such assistance raises only contributory liability

issues,’” and “‘does not constitute direct infringement of the copyright owner’s display rights.’”

Id. (quoting 508 F.3d at 1161).

        Over the course of this litigation, Plaintiff has attempted to distinguish these cases in a

variety of ways. Defendants concede that these cases did not necessarily arise from identical fact

patterns or in precisely the same procedural posture as this case. Yet the very breadth of these

cases—and the absence of even a single case that considered the Perfect 10 analysis and

ultimately concluded differently13—demonstrate the versatility and appropriateness of the


12
   Subsequently, the court in Grady granted summary judgment to the plaintiff because the evidence and
expert testimony showed that the defendant had, in fact, downloaded the files containing the photographs
at issue to his computer, he was liable for “direct copyright infringement.” Grady v. Iacullo, No. 13 Civ.
624, 2017 WL 1176415, at *4 (D. Colo. Mar. 29, 2017). However, the court did not specify which
particular right was infringed. In particular, the court did not suggest that the saving of the files on
defendant’s computer amounted to an infringement of the display right, and such a conclusion would have
made little sense. The court also did not revisit or reconsider its prior adoption of Perfect 10—in fact, the
subsequent decision did not cite Perfect 10 at all.
13
  The one potential exception was the district court in Flava Works, which was then overturned by the
Seventh Circuit. See 689 F.3d 754.



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Perfect 10 approach, generally. Plaintiff cannot point to any authority compelling this Court to

diverge from this judicial consensus.

        C.      The Perfect 10 Test Does Not Foreclose Other Remedies for Content Owners

        Plaintiff has previously argued that, should web publishers be permitted to continue to

rely on the test articulated by the Perfect 10 court in appropriate cases, all photographers will

become victims of widespread and unbridled infringement of their content caused by embedding

of social media posts. While the parade of horribles Plaintiff raises is not strictly relevant to the

elements of Plaintiff’s claims or Defendants’ defenses, we briefly address this concern below.

        First, photographers and other content owners have a direct remedy for any infringement

by persons who unlawfully post content to social media: They can take action directly against

that infringer. Assuming that Plaintiff is correct that the person(s) who posted the Photo on

Twitter did so without authorization, Plaintiff could have immediately demanded that the poster

delete the Photo (or the entire tweet), and/or could have sought immediate relief in court for

direct copyright infringement. Removal of the Photo would have immediately resulted in the

Photo being unavailable anywhere the tweet was embedded, since the embedding web publishers

had no control over the underlying content. 14 See 56.1 Stmt. ¶ 44.

        Second, content owners may have recourse against social media companies hosting their

images. To be sure, under the Digital Millennium Copyright Act, Internet Service Providers

(“ISP”) – such as owners of social media platforms – can take advantage of the 17 U.S.C.

§ 512(c) safe harbor in connection with material stored “at the direction of a user” if the ISP is

not aware of the infringing material, and upon receiving notification of infringement “responds


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  In fact, since the Photo, or the tweets containing it, were deleted from Twitter, the Articles embedding
those tweets now show only the raw text of the tweet itself and no longer incorporate the Photo. See 56.1
Stmt. ¶ 44.




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expeditiously to remove, or disable access to, the material that is claimed to be infringing or to

be the subject of infringing activity.” But content owners are empowered to send a takedown

notice to a social media platform immediately after learning of an infringing post, and the social

media platform is obligated to take the material down expeditiously. Removal of the post would

instantly render it invisible anywhere it had been embedded.

       Third, the Perfect 10 test fits logically within the framework of direct and secondary

liability that has developed over the past three decades under copyright law. Under Supreme

Court precedent, direct infringers are those parties that themselves make copies, distribute copies

to the public, produce derivative works, publicly perform works, or display works to the public.

See Am. Broad. Cos. v. Aereo, Inc., 573 U.S. __, 134 S.Ct. 2498, 2512 (2014) (“As its name

suggests, [direct infringement] applies when an actor personally engages in infringing conduct.”)

(Scalia, J., dissenting) (citing Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417,

433 (1984)). “Secondary liability, by contrast, is a means of holding defendants responsible for

infringement by third parties, even when the defendants ‘have not themselves engaged in the

infringing activity.’ ... It applies when a defendant ‘intentionally induc[es] or encourag[es]’

infringing acts by others or profits from such acts ‘while declining to exercise a right to stop or

limit [them].’” Id. (quoting Sony, 464 U.S. at 435; Metro-Goldwyn-Mayer Studios Inc. v.

Grokster, Ltd., 545 U.S. 913, 930 (2005)).

       As noted above, when a party embeds or in-line links to content hosted on a third party’s

server, it is analogous to opening a window onto the underlying content. In an appropriate case,

this act might well trigger a claim for secondary infringement, if the party opening that window

has, for instance, induced the third party to host the infringing content, or continued to link to it

after being put on notice that it was infringing. Indeed, in Perfect 10, the Ninth Circuit remanded




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the case to the district court for further fact-finding on whether Google could be liable for

contributory infringement for the third-party websites hosting infringing copies of P10’s to

which Google provided access. 508 F.3d at 1172-73. See also Perfect 10, 416 F. Supp. 2d at

843-44 (explaining that, under the server test, “[c]opyright owners may still seek, as P10 does, to

impose contributory or vicarious liability on websites for the inclusion of such content”).

          That is also how courts have viewed the use of hyperlinks that connect users to infringing

material. For instance, in Pearson Educ., Inc. v. Ishayev, 963 F. Supp. 2d 239, 250-51 (S.D.N.Y.

2013), it was undisputed that the defendant sent emails “containing hyperlinks to a website

called filesonic.com from which [the recipient] could and did directly download the specific

requested manuals.” In other words, the defendant fully intended that the recipient click on the

hyperlinks and access infringing material. However, with respect to plaintiff’s claim for direct

infringement, the court held:

          As a matter of law, sending an email containing a hyperlink to a site facilitating
          the sale of a copyrighted work does not itself constitute copyright infringement.
          A hyperlink (or HTML instructions directing an internet user to a particular
          website) is the digital equivalent of giving the recipient driving directions to
          another website on the Internet. A hyperlink does not itself contain any
          substantive content . . . . Because hyperlinks do not themselves contain the
          copyrighted or protected derivative works, forwarding them does not infringe on
          any of a copyright owner’s five exclusive rights under § 106.

Id. (citing MyPlayCity, 2012 WL 1107648, at *12; Perfect 10, 508 F.3d at 1161; Arista Records,

Inc. v. Mp3Board, Inc., No. 00 CIV. 4660(SHS), 2002 WL 1997918, at *4 (S.D.N.Y. Aug. 29,

2002)).

          The Ishayev court noted, however, that with respect to providing hyperlinks to infringing

content, “in some instances there may be a tenable claim of contributory infringement or

vicarious liability.” 963 F. Supp. 2d at 250-51 n.11 (citing Online Policy Grp. v. Diebold, Inc.,

337 F. Supp. 2d 1195, 1202 (N.D. Cal. 2004)). In a subsequent decision, the court noted that a




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plaintiff can show contributory infringement where “one who, with knowledge of the infringing

activity, induces, causes or materially contributes to the infringing conduct of another ....” 9 F.

Supp. 3d 328, 338-39 (S.D.N.Y. 2014) (quoting Arista Records, LLC v. Doe 3, 604 F.3d 110,

117 (2d Cir. 2010)). It then noted that:

       The publishers assert that Ishayev is liable for contributory infringement because
       he knowingly sold access to hyperlinks, which allowed other individuals to
       download eight of the publishers’ copyright protected works from a website. If
       proven with competent evidence, such conduct would lead to liability for
       contributory copyright infringement—sending hyperlinks that permit others to
       download protected materials would plainly amount to conduct that encourages or
       assists in copyright infringement. Ishayev may assert that he did not know that
       these materials were protected by copyright, but based on the publishers’
       registration certificates, he would at least have ‘reason to know’ of their protected
       status.

Id. (quoting Arista Records, 604 F.3d at 117-18); see, e.g., Perfect 10, 508 F.3d at 1169-75;

A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir. 2001).

       Here, not only has Plaintiff not pleaded a secondary liability claim, he has not – and

could not – allege that Defendants knew that the Photo was infringing when they embedded it.

However, in a different case, with facts suggesting that a web publisher was knowingly linking

to infringing conduct or otherwise contributing to or inducing infringement, a claim for

secondary liability provides further recourse for a photographer whose content has been directly

infringed by a party posting that content to social media without authorization.

       Plaintiff’s arguments that applying the server test to this case would somehow leave all

photographers, everywhere, at the mercy of infringers simply does not hold water. Only by

ignoring the primary infringer (the party who posted the Photo on social media in the first

instance, whom Plaintiff has not sued here), foregoing the protections of the DMCA, and

ignoring the availability of secondary liability claims where an embedding party has acted

knowingly to further infringement, can Plaintiff even venture such a meritless assertion. This is




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simply a red herring. Defendants urge the Court to focus instead on the specific facts necessary

to determine that the defendant publishers did not directly infringe Plaintiff’s rights in his Photo

under well settled law.

        Finally, in his Complaint, Plaintiff posits multiple hypotheticals that, he says,

demonstrate that the Perfect 10 test cannot be applied without leading to undesirable results.

These theoretical fact patterns go well beyond the facts of this case, and should be disregarded

on this motion. They are also fundamentally misleading. In each scenario, Plaintiff imagines a

web publisher embedding third-party content on its website, and then doing something else with

it: for example, publicly displaying the web page on a Jumbotron or on a screen at a bar. See

SAC ¶¶ 27-31. In those circumstances, if the underlying content were infringing, a publisher

might well be liable for direct infringement of the display right for providing a public display

under the first definition of “public display” provided in 17 U.S.C. § 101 (“display it at a place

open to the public or at any place where a substantial number of persons outside of a normal

circle of a family and its social acquaintances is gathered”), just as any other party would be who

used a screen containing the web page and displayed it in a similar manner. But under Perfect

10, the publisher of the website being shown would not be liable for the mere act of embedding

or in-line linking to the underlying content hosted by the (infringing) third party.

                                           CONCLUSION

        As the district court in the Perfect 10 litigation recognized, to adopt the rule urged by

Plaintiff, that a website publisher could be liable for an infringing “display” of a copyrighted

work whenever the work is visually incorporated into the page, regardless of where the image is

actually hosted, “would cause a tremendous chilling effect on the core functionality of the web—

its capacity to link, a vital feature of the internet that makes it accessible, creative, and valuable.”




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Perfect 10, 416 F. Supp. 2d at 840. Indeed, Plaintiff’s position—like that of the plaintiff in

Perfect 10—“fails to acknowledge the interconnected nature of the web, both in its physical and

logical connections and in its ability to aggregate and present content from multiple sources

simultaneously.” Id. at 844. On the facts of this case, the Court should instead follow the rule set

forth by the Ninth Circuit (which has been embraced by courts in this District in other contexts)

and find that the Defendants have not infringed Plaintiff’s copyright as a matter of law.

       Because there is no genuine issue of fact as to whether Defendants’ embedding of the

Photo from Twitter was materially different from the “in-line linking” process described in

Perfect 10, and because Plaintiff cannot point to any authority for this Court’s departure from the

Perfect 10 analysis, this Court should grant Defendants’ motion for partial summary judgment

and dismiss the claims as to any uses of the Photo that arise solely from embedded tweets.

Dated: New York, New York                     Respectfully submitted,
       October 5, 2017

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